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                                 EXHIBIT A
                                     Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                             Thirtieth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
1 SANTIAGO ORTIZ,               06/27/18   Employees Retirement           54187                 $ 81,155.68 SANTIAGO ORTIZ,        06/28/18   Employees Retirement           57784           $ 81,155.68
  DORIS E.                                 System of the Government of                                      DORIS E.                          System of the Government of
  COLINAS DE FAIR VIEW                     the Commonwealth of Puerto                                       COLINAS DE FAIR VIEW              the Commonwealth of Puerto
  4 C 4 CALLE 201                          Rico                                                             4 C4 CALLE 201                    Rico
  TRUJILLO ALTO, PR                        17 BK 03566-LTS                                                  TRUJILLO ALTO, PR                 17 BK 03566-LTS
  00976                                                                                                     00976

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
2 SANTIAGO ORTIZ,               05/25/18   Employees Retirement           31659                $ 117,038.34 SANTIAGO ORTIZ,        05/25/18   Employees Retirement           32084          $ 117,038.34
  REYNALDO                                 System of the Government of                                      REYNALDO                          System of the Government of
  HC 15 BOX 16546                          the Commonwealth of Puerto                                       HC 15 BOX 16546                   the Commonwealth of Puerto
  HUMACAO, PR 00791                        Rico                                                             HUMACAO, PR 00791                 Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
3 SANTIAGO PAREDES,             06/29/18   Employees Retirement           58584              Undetermined* SANTIAGO PAREDES,       07/05/18   Employees Retirement           156260       Undetermined*
  OSCAR                                    System of the Government of                                     OSCAR                              System of the Government of
  PO BOX 41                                the Commonwealth of Puerto                                      PO BOX 41                          the Commonwealth of Puerto
  HUMACAO, PR 00792                        Rico                                                            HUMACAO, PR 00792                  Rico
                                           17 BK 03566-LTS                                                                                    17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
4 SANTIAGO PEREZ,               06/26/18   Employees Retirement           93273              Undetermined* SANTIAGO PEREZ,         06/26/18   Employees Retirement           104641       Undetermined*
  ANGEL L.                                 System of the Government of                                     ANGEL L.                           System of the Government of
  CALLE RODULFO                            the Commonwealth of Puerto                                      CALLE RODELFO                      the Commonwealth of Puerto
  GONZALEZ #49 B                           Rico                                                            GONZALEZ #49 B                     Rico
  ADJUNTAS, PR 00601                       17 BK 03566-LTS                                                 ADJUNTAS, PR 00601                 17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
5 SANTIAGO RIVERA,              06/29/18   Employees Retirement           82570              Undetermined* SANTIAGO RIVERA,        06/29/18   Employees Retirement           96036        Undetermined*
  AGUSTIN                                  System of the Government of                                     AGUSTIN                            System of the Government of
  URB. MONTE BRISAS                        the Commonwealth of Puerto                                      URB.MONTE BRISAS                   the Commonwealth of Puerto
  CALLE H M-12                             Rico                                                            CALLE H M-12                       Rico
  FAJARDO, PR 00738                        17 BK 03566-LTS                                                 FAJARDO, PR 00738                  17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 1 of 26
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                                                                             Thirtieth Omnibus Objection
                                                                           Exhibit A - Exact Duplicate Claims
                                     CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
           NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
6 SANTIAGO TORRES,              03/27/18   Employees Retirement            3042                 $ 20,000.00 SANTIAGO TORRES,          03/27/18   Employees Retirement           5002            $ 20,000.00
  HIRAN                                    System of the Government of                                      HIRAN                                System of the Government of
  PO BOX 270168                            the Commonwealth of Puerto                                       PO BOX 270168                        the Commonwealth of Puerto
  SAN JUAN, PR 00928                       Rico                                                             SAN JUAN, PR 00928-2968              Rico
                                           17 BK 03566-LTS                                                                                       17 BK 03566-LTS
  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
7 SANTIAGO TORRES,              03/27/18   Employees Retirement            3097                $ 67,333.68* SANTIAGO TORRES,          03/27/18   Employees Retirement           4993           $ 67,333.68*
  IRMA I                                   System of the Government of                                      IRMA I                               System of the Government of
  URB VILLA FONTANA                        the Commonwealth of Puerto                                       URB VILLA FONTANA                    the Commonwealth of Puerto
  4 CN-4 VIA 31                            Rico                                                             4 CN4 VIA 31                         Rico
  CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                   17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
8 SANTIAGO TORRES,              03/26/18   Employees Retirement            4592                $ 19,409.54* SANTIAGO TORRES,          05/25/18   Employees Retirement           22662          $ 19,409.54*
  WILLIAM                                  System of the Government of                                      WILLIAM                              System of the Government of
  VILLA DEL CARMEN                         the Commonwealth of Puerto                                       VILLA DEL CARMEN,                    the Commonwealth of Puerto
  4338 AVE CONSTANCIA                      Rico                                                             4338 AVE CONSTANCIA                  Rico
  PONCE, PR 00716-2143                     17 BK 03566-LTS                                                  PONCE, PR 00716-2143                 17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
9 SANTIAGO VAZQUEZ,             06/29/18   Employees Retirement           93486              Undetermined* SANTIAGO VAZQUEZ,          06/29/18   Employees Retirement           94823        Undetermined*
  ANGEL V.                                 System of the Government of                                     ANGEL V.                              System of the Government of
  CALLE 19 O40 URB. TOA                    the Commonwealth of Puerto                                      CALLE 19 O-40 URB TOA                 the Commonwealth of Puerto
  ALTA HEIGHTS                             Rico                                                            ALTA HIGHT                            Rico
  TOA ALTA, PR 00953                       17 BK 03566-LTS                                                 TOA ALTA, PR 00953                    17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
10 SANTIAGO, ARISANTO           06/21/18   Employees Retirement           46462                $ 50,000.00* SANTIAGO, ARISANTO        06/21/18   Employees Retirement           49434          $ 50,000.00*
   AR                                      System of the Government of                                      AR                                   System of the Government of
   HC 4 BOX 5221                           the Commonwealth of Puerto                                       HC 4 BOX 5221                        the Commonwealth of Puerto
   SECTOR PEDRO REYES                      Rico                                                             SECTOR PEDRO REYES                   Rico
   GUAYNABO, PR 00971                      17 BK 03566-LTS                                                  GUAYNABO, PR 00971                   17 BK 03566-LTS

  Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 2 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
11 SANTIAGO, ARISANTO            06/21/18   Employees Retirement           47236                $ 50,000.00* SANTIAGO, ARISANTO      06/21/18   Employees Retirement           49434          $ 50,000.00*
   AR                                       System of the Government of                                      AR                                 System of the Government of
   HC 4 BOX 5221                            the Commonwealth of Puerto                                       HC 4 BOX 5221                      the Commonwealth of Puerto
   SECTOR PEDRO REYES                       Rico                                                             SECTOR PEDRO REYES                 Rico
   GUAYNABO, PR 00971                       17 BK 03566-LTS                                                  GUAYNABO, PR 00971                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
12 SANTOS BERNARD, LUZ           06/28/18   Employees Retirement           165720             Undetermined* SANTOS BERNARD, LUZ      06/28/18   Employees Retirement           165988       Undetermined*
   C                                        System of the Government of                                     C                                   System of the Government of
   HC 43 BOX 11213                          the Commonwealth of Puerto                                      HC 43 BOX 11213                     the Commonwealth of Puerto
   CAYEY, PR 00736                          Rico                                                            CAYEY, PR 00736                     Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
13 SANTOS FELICIANO,             05/29/18   Employees Retirement           40026              Undetermined* SANTOS FELICIANO,        05/29/18   Employees Retirement           45718        Undetermined*
   IDALIA                                   System of the Government of                                     IDALIA                              System of the Government of
   CALLE PEDRO SHUCK #                      the Commonwealth of Puerto                                      EL TUQUE                            the Commonwealth of Puerto
   1164                                     Rico                                                            1164 CALLE PEDRO                    Rico
   PARCELAS EL TUQUE                        17 BK 03566-LTS                                                 SCHUCK                              17 BK 03566-LTS
   PONCE, PR 00731                                                                                          PONCE, PR 00731

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
14 SANTOS IRIZARRY,              05/14/18   Employees Retirement           13251              Undetermined* SANTOS IRIZARRY,         05/14/18   Employees Retirement           14990        Undetermined*
   VICTOR                                   System of the Government of                                     VICTOR                              System of the Government of
   URB. SANTA MARIA                         the Commonwealth of Puerto                                      URB. SANTA MARIA                    the Commonwealth of Puerto
   CALLE 5 E 25                             Rico                                                            CALLE 5 E-25                        Rico
   SAN GERMAN, PR 00683                     17 BK 03566-LTS                                                 SAN GERMAN, PR 00683                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
15 SANTOS LOPEZ, ILIA M.         06/04/18   Employees Retirement           49814                $ 88,810.00* SANTOS LOPEZ, ILIA M.   06/05/18   Employees Retirement           46524          $ 88,810.00*
   PO BOX 302                               System of the Government of                                      PO BOX 302                         System of the Government of
   LOIZA, PR 00772                          the Commonwealth of Puerto                                       LOIZA, PR 00772                    the Commonwealth of Puerto
                                            Rico                                                                                                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 3 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
16 SANTOS MARCANO,               06/29/18   Employees Retirement           98620                 $ 24,874.67 SANTOS MARCANO,         07/02/18   Employees Retirement           152870          $ 24,874.67
   MARIA A.                                 System of the Government of                                      MARIA A.                           System of the Government of
   R-14 CALLE 27 TURABO                     the Commonwealth of Puerto                                       R-14 CALLE 27 TURABO               the Commonwealth of Puerto
   GARDENS                                  Rico                                                             GARDENS                            Rico
   CAGUAS, PR 00727                         17 BK 03566-LTS                                                  CAGUAS, PR 00727                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
17 SANTOS NORIEGA, LUIS          05/29/18   Employees Retirement           26436               $ 104,538.49* SANTOS NORIEGA, LUIS    05/29/18   Employees Retirement           28627          $ 104,538.49
   M                                        System of the Government of                                      M                                  System of the Government of
   551 CALLE MAXIMO                         the Commonwealth of Puerto                                       551 CALLE MAXIMO                   the Commonwealth of Puerto
   GOMEZ                                    Rico                                                             GOMEZ URB BALDRICH                 Rico
   URB. BALDRICH                            17 BK 03566-LTS                                                  SAN JUAN, PR 00918                 17 BK 03566-LTS
   SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
18 SANTOS NORIEGA, LUIS          05/29/18   Employees Retirement           26951               $ 104,538.49* SANTOS NORIEGA, LUIS    05/29/18   Employees Retirement           28627          $ 104,538.49
   M                                        System of the Government of                                      M                                  System of the Government of
   551 CALLE MAXIMO                         the Commonwealth of Puerto                                       551 CALLE MAXIMO                   the Commonwealth of Puerto
   GOMEZ                                    Rico                                                             GOMEZ URB BALDRICH                 Rico
   URB. BALDRICH                            17 BK 03566-LTS                                                  SAN JUAN, PR 00918                 17 BK 03566-LTS
   SAN JUAN, PR 00918

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
19 SANTOS ORTEGA, IVAN           06/27/18   Employees Retirement           54508                $ 118,503.23 SANTOS ORTEGA, IVAN     06/27/18   Employees Retirement           56889          $ 118,503.23
   URB. SANTA ROSA                          System of the Government of                                      URB SANTA ROSA                     System of the Government of
   BLOQUE 20-22 CALLE 25                    the Commonwealth of Puerto                                       BLOQUE 50-22 CALLE 25              the Commonwealth of Puerto
   BAYAMON, PR 00959                        Rico                                                             BAYAMON, PR 00959                  Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
20 SANTOS ORTIZ, EVELYN          06/20/18   Employees Retirement           66886               $ 116,572.56* SANTOS ORTIZ, EVELYN    06/08/18   Employees Retirement           82762         $ 116,572.56*
   PO BOX 1540                              System of the Government of                                      PO BOX 1540                        System of the Government of
   FAJARDO, PR 00738                        the Commonwealth of Puerto                                       FAJARDO, PR 00738                  the Commonwealth of Puerto
                                            Rico                                                                                                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 4 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                      REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                           DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                   NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
21 SANTOS RODRIGUEZ,             06/11/18   Employees Retirement           36554                $ 48,125.64* SANTOS RODRIGUEZ,          06/11/18   Employees Retirement           36862          $ 48,125.64*
   ARLENE                                   System of the Government of                                      ARLENE                                System of the Government of
   CALLE 21DD20                             the Commonwealth of Puerto                                       CALLE 21 DD-20                        the Commonwealth of Puerto
   URBANIZACION VILLA                       Rico                                                             URBANIZACION VILLA                    Rico
   LOS SANTOS                               17 BK 03566-LTS                                                  LOS SANTOS                            17 BK 03566-LTS
   ARECIBO, PR 00612                                                                                         ARECIBO, PR 00612

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
22 SANTOS-RAMOS, LUISA           07/05/18   Employees Retirement           105453             Undetermined* SANTOS-RAMOS, LUISA         07/05/18   Employees Retirement           156650       Undetermined*
   MARIA                                    System of the Government of                                     MARIA                                  System of the Government of
   P.O. BOX 1752                            the Commonwealth of Puerto                                      P.O. BOX 1752                          the Commonwealth of Puerto
   UTUADO, PR 00641                         Rico                                                            UTUADO, PR 00641                       Rico
                                            17 BK 03566-LTS                                                                                        17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
23 SEGARRA PI, DIANA             06/29/18   Employees Retirement           133362             Undetermined* SEGARRA PI, DIANA           06/29/18   Employees Retirement           141651       Undetermined*
   116 CALLE SACRA,                         System of the Government of                                     1116 CALLE SACRA                       System of the Government of
   VILLA DEL CARMEN                         the Commonwealth of Puerto                                      VILLA DEL CARMEN                       the Commonwealth of Puerto
   PONCE, PR 00716                          Rico                                                            PONCE, PR 00716                        Rico
                                            17 BK 03566-LTS                                                                                        17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
24 SEGARRA RAMOS,                05/17/18   Employees Retirement           16657                $ 42,370.96* SEGARRA RAMOS,             05/24/18   Employees Retirement           26863          $ 42,370.96*
   VANESSA                                  System of the Government of                                      VANESSA                               System of the Government of
   575 DR RAMON                             the Commonwealth of Puerto                                       575 CALLE DR RAMON E                  the Commonwealth of Puerto
   EMETERIO BETANCES                        Rico                                                             BETANCES                              Rico
   MAYAGUEZ, PR 00680                       17 BK 03566-LTS                                                  MAYAGÜEZ, PR 00680                    17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
25 SERRANO CLAUDIO,              06/29/18   Employees Retirement           135587                $ 77,633.42 SERRANO CLAUDIO,           07/02/18   Employees Retirement           124300          $ 77,633.42
   BENJAMIN                                 System of the Government of                                      BENJAMIN                              System of the Government of
   P.O. BOX 83                              the Commonwealth of Puerto                                       P.O. BOX 83                           the Commonwealth of Puerto
   SAN LORENZO, PR 00754                    Rico                                                             SAN LORENZO, PR 00754                 Rico
                                            17 BK 03566-LTS                                                                                        17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
26 SERRANO CRESPO,               03/21/18   Employees Retirement            3715                       $ 187.55 SERRANO CRESPO,         03/21/18   Employees Retirement           3955             $ 187.55*
   MARIA M                                  System of the Government of                                         MARIA M                            System of the Government of
   PO BOX 109                               the Commonwealth of Puerto                                          PO BOX 109                         the Commonwealth of Puerto
   SAN LORENZO, PR 00754                    Rico                                                                SAN LORENZO, PR 00754              Rico
                                            17 BK 03566-LTS                                                                                        17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                             Page 5 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
27 SERRANO DAVILA,               05/22/18   Employees Retirement           17806                $ 29,779.65* SERRANO DAVILA,      05/23/18   Employees Retirement           25506         $ 29,779.65*
   SANDRA J                                 System of the Government of                                      SANDRA J                        System of the Government of
   URB DELGADO                              the Commonwealth of Puerto                                       URB DELGADO                     the Commonwealth of Puerto
   Q16 CALLE 10                             Rico                                                             Q16 CALLE 10                    Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
28 SERRANO GARCIA,               07/12/18   Employees Retirement           120009               $ 50,000.00* SERRANO GARCIA,      07/12/18   Employees Retirement           158364        $ 50,000.00*
   VANESSA                                  System of the Government of                                      VANESSA                         System of the Government of
   URB CALIMANO                             the Commonwealth of Puerto                                       URB CALIMANO                    the Commonwealth of Puerto
   94                                       Rico                                                             94                              Rico
   MAUNABO, PR 00707                        17 BK 03566-LTS                                                  MAUNABO, PR 00707               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
29 SERRANO GARCIA,               07/12/18   Employees Retirement           143140               $ 50,000.00* SERRANO GARCIA,      07/12/18   Employees Retirement           158364        $ 50,000.00*
   VANESSA                                  System of the Government of                                      VANESSA                         System of the Government of
   URB. EMILIO                              the Commonwealth of Puerto                                       URB CALIMANO                    the Commonwealth of Puerto
   CALIMANO                                 Rico                                                             94                              Rico
   #94                                      17 BK 03566-LTS                                                  MAUNABO, PR 00707               17 BK 03566-LTS
   MAUNABO, PR 00707

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
30 SERRANO GARCIA,               07/12/18   Employees Retirement           158199               $ 50,000.00* SERRANO GARCIA,      07/12/18   Employees Retirement           158364        $ 50,000.00*
   VANESSA                                  System of the Government of                                      VANESSA                         System of the Government of
   94 URB CALIMANO                          the Commonwealth of Puerto                                       URB CALIMANO                    the Commonwealth of Puerto
   MAUNABO, PR 00707                        Rico                                                             94                              Rico
                                            17 BK 03566-LTS                                                  MAUNABO, PR 00707               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
31 SERRANO REYES,                08/15/18   Employees Retirement           163287                $ 68,498.26 SERRANO REYES,       08/15/18   Employees Retirement           163473         $ 68,498.26
   GRISSEL E.                               System of the Government of                                      GRISSEL E.                      System of the Government of
   IA-2 C/6A URB.                           the Commonwealth of Puerto                                       IA-2 C/6 URB.                   the Commonwealth of Puerto
   PROVIDENCIA                              Rico                                                             PROVIDENCIA                     Rico
   TOA ALTA, PR 00953                       17 BK 03566-LTS                                                  TOA ALTA, PR 00953              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 6 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
32 SERRANO RODRIGUEZ,            06/25/18   Employees Retirement           41522                 $ 75,000.00 SERRANO RODRIGUEZ,    06/25/18   Employees Retirement           51744          $ 75,000.00
   ZAIDA ENID                               System of the Government of                                      ZAIDA ENID                       System of the Government of
   CALLE PARQUE MUNOZ                       the Commonwealth of Puerto                                       CALLE PARQUE MUNOZ               the Commonwealth of Puerto
   RIVERA 5 GG 14                           Rico                                                             RIVERA 5 GG 14                   Rico
   VILLA FONTANA PARK                       17 BK 03566-LTS                                                  VILLA FONTANA PARK               17 BK 03566-LTS
   CAROLINA, PR 00986                                                                                        CAROLINA, PR 00986

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
33 SERRANO SOTO, MARIA           06/15/18   Employees Retirement           40872                $ 73,684.88* SERRANO SOTO, MARIA   06/21/18   Employees Retirement           33969         $ 73,684.88*
   A                                        System of the Government of                                      A                                System of the Government of
   URB. FLAMBOYAN                           the Commonwealth of Puerto                                       URB FLAMBOYAN                    the Commonwealth of Puerto
   GARDENS                                  Rico                                                             GARDENS                          Rico
   M-3 CALLE 13-A                           17 BK 03566-LTS                                                  M-3 CALLE 13-A                   17 BK 03566-LTS
   BAYAMON, PR 00959                                                                                         BAYAMON, PR 00959

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
34 SIERRA COLON,                 06/14/18   Employees Retirement           45472                 $ 49,224.24 SIERRA COLON,         06/14/18   Employees Retirement           66286          $ 49,224.24
   CARLOS J.                                System of the Government of                                      CARLOS J.                        System of the Government of
   PO BOX 391                               the Commonwealth of Puerto                                       PO BOX 391                       the Commonwealth of Puerto
   CEIBA, PR 00735                          Rico                                                             CEIBA, PR 00735                  Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
35 SILVA MARTI,                  06/28/18   Employees Retirement           72907                $ 75,000.00* SILVA MARTI,          06/28/18   Employees Retirement           73880         $ 75,000.00*
   SORGALIM                                 System of the Government of                                      SORGALIM                         System of the Government of
   URB. RAMÓN RIVERO                        the Commonwealth of Puerto                                       URB. RAMÓN RIVERO                the Commonwealth of Puerto
   H1 CALLE 6                               Rico                                                             H1 CALLE 6                       Rico
   NAGUABO, PR 00718                        17 BK 03566-LTS                                                  NAGUABO, PR 00718                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
36 SOLIVAN FRANCISCO,            05/22/18   Employees Retirement           18632                 $ 80,768.55 SOLIVAN FRANCISCO,    05/25/18   Employees Retirement           23859          $ 80,768.55
   DIANA M                                  System of the Government of                                      DIANA M                          System of the Government of
   URB FLORAL PARK                          the Commonwealth of Puerto                                       FLORAL PARK 454                  the Commonwealth of Puerto
   CALLE PACHIN MARIN                       Rico                                                             CALLE PACHIN MARIN               Rico
   #454                                     17 BK 03566-LTS                                                  SAN JUAN, PR 00917               17 BK 03566-LTS
   SAN JUAN, PR 00917

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 7 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME           FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
37 SOLIVAN FRANCISCO,            05/25/18   Employees Retirement           22950                 $ 80,768.55 SOLIVAN FRANCISCO,    05/25/18   Employees Retirement           23859           $ 80,768.55
   DIANA M                                  System of the Government of                                      DIANA M                          System of the Government of
   FLORAL PARK                              the Commonwealth of Puerto                                       FLORAL PARK 454                  the Commonwealth of Puerto
   454 PACHIN MARIN                         Rico                                                             CALLE PACHIN MARIN               Rico
   SAN JUAN, PR 00917                       17 BK 03566-LTS                                                  SAN JUAN, PR 00917               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
38 SOSA CORTES, CARMIN           06/28/18   Employees Retirement           73456                 $ 72,323.64 SOSA CORTES, CARMIN   07/09/18   Employees Retirement           164589          $ 72,323.64
   SEGUNDO FELICIANO                        System of the Government of                                      SEGUNDO FELICIANO                System of the Government of
   ST. 200                                  the Commonwealth of Puerto                                       ST. 200                          the Commonwealth of Puerto
   MOCA, PR 00676                           Rico                                                             MOCA, PR 00676                   Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
39 SOSTRE GARCIA,                06/29/18   Employees Retirement           90956                 $ 22,800.00 SOSTRE GARCIA,        06/29/18   Employees Retirement           98417           $ 22,800.00
   BETSAIDA                                 System of the Government of                                      BETSAIDA                         System of the Government of
   PO BOX 240                               the Commonwealth of Puerto                                       PO BOX 240                       the Commonwealth of Puerto
   VEGA BAJA, PR 00694                      Rico                                                             VEGA BAJA, PR 00694              Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
40 SOTO GONZALEZ,                06/29/18   Employees Retirement           83649              Undetermined* SOTO GONZALEZ,         06/29/18   Employees Retirement           123034       Undetermined*
   CARLOS OMAR                              System of the Government of                                     CARLOS OMAR                       System of the Government of
   PO BOX 63                                the Commonwealth of Puerto                                      PO BOX 63                         the Commonwealth of Puerto
   CASTANER, PR 00631                       Rico                                                            CASTANER, PR 00631                Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
41 SOTO MELENDEZ,                06/27/18   Employees Retirement           53294                 $ 77,382.14 SOTO MELENDEZ,        06/28/18   Employees Retirement           166446          $ 77,382.14
   RAMON LUIS                               System of the Government of                                      RAMON LUIS                       System of the Government of
   HC-01 BUZON 5716                         the Commonwealth of Puerto                                       HC-01 BUZON 5716                 the Commonwealth of Puerto
   ARROYO, PR 00714                         Rico                                                             ARROYO, PR 00714                 Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
42 SOTO ORTIZ, JAVIER            05/29/18   Employees Retirement           25554                 $ 81,346.00 SOTO ORTIZ, JAVIER    05/29/18   Employees Retirement           26452           $ 81,346.00
   URB VALPARAISO, E20                      System of the Government of                                      CALLE 10, E-20                   System of the Government of
   CALLE 10                                 the Commonwealth of Puerto                                       URBANIZACIÓN                     the Commonwealth of Puerto
   TOA BAJA, PR 00949                       Rico                                                             VALPARAISO                       Rico
                                            17 BK 03566-LTS                                                  TOA BAJA, PR 00949               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 8 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                               Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
43 SOTO ROLDAN, DANIEL           06/27/18   Employees Retirement           134761             Undetermined* SOTO ROLDAN, DANIEL      06/29/18   Employees Retirement           139476       Undetermined*
   HC6 BOX 64083                            System of the Government of                                     HC6 BOX 64083                       System of the Government of
   AGUADILLA, PR 00603                      the Commonwealth of Puerto                                      AGUADILLA, PR 00603                 the Commonwealth of Puerto
                                            Rico                                                                                                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
44 STONE MALDONADO,              06/29/18   Employees Retirement           74258                $ 57,285.19* STONE MALDONADO,        06/29/18   Employees Retirement           76812          $ 57,285.19*
   EILEEN                                   System of the Government of                                      EILEEN                             System of the Government of
   PO BOX 6316                              the Commonwealth of Puerto                                       PO BOX 6316                        the Commonwealth of Puerto
   CAGUAS, PR 00726-6316                    Rico                                                             CAGUAS, PR 00726-6316              Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
45 SUAREZ CEREZO, SONIA          04/03/18   Employees Retirement            3544              Undetermined* SUAREZ CEREZO, SONIA     04/10/18   Employees Retirement           6748         Undetermined*
   RAMEY STATION                            System of the Government of                                     RAMEY STATION                       System of the Government of
   PO BOX 250554                            the Commonwealth of Puerto                                      PO BOX 250554                       the Commonwealth of Puerto
   AGUADILLA, PR 00604-                     Rico                                                            AGUADILLA, PR 00604-                Rico
   0554                                     17 BK 03566-LTS                                                 0554                                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
46 SUAREZ MATOS,                 06/29/18   Employees Retirement           73439              Undetermined* SUAREZ MATOS,            06/29/18   Employees Retirement           86343        Undetermined*
   RAMONITA                                 System of the Government of                                     RAMONITA                            System of the Government of
   4680 BROKEN                              the Commonwealth of Puerto                                      4680 BROKEN                         the Commonwealth of Puerto
   WHEELBOROW                               Rico                                                            WHEELBARROW                         Rico
   HAINES CITY, FL 33844                    17 BK 03566-LTS                                                 HAINES CITY, FL 33844               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
47 SUAREZ MELENDEZ,              06/29/18   Employees Retirement           106405                $ 56,685.41 SUAREZ MELENDEZ,        06/29/18   Employees Retirement           111192          $ 56,685.41
   PETRA                                    System of the Government of                                      PETRA                              System of the Government of
   RR 1 BOX 6203                            the Commonwealth of Puerto                                       RR 1 BOX 6203                      the Commonwealth of Puerto
   GUAYAMA, PR 00784                        Rico                                                             GUAYAMA, PR 00784                  Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
48 SUÁREZ SÁNCHEZ,               06/13/18   Employees Retirement           39301                 $ 47,953.18 SUÁREZ SÁNCHEZ,         06/13/18   Employees Retirement           40713           $ 47,953.18
   MARITZA                                  System of the Government of                                      MARITZA                            System of the Government of
   URB. SAN ALFONSO                         the Commonwealth of Puerto                                       URB. SAN ALFONSO                   the Commonwealth of Puerto
   F-8 CALLE AÑORANZA                       Rico                                                             F-8 CALLE AÑORANZA                 Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 9 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
49 SUÁREZ SÁNCHEZ,               06/13/18   Employees Retirement           40381                 $ 47,953.18 SUÁREZ SÁNCHEZ,       06/13/18   Employees Retirement           40713           $ 47,953.18
   MARITZA                                  System of the Government of                                      MARITZA                          System of the Government of
   URB. SAN ALFONSO F 8                     the Commonwealth of Puerto                                       URB. SAN ALFONSO                 the Commonwealth of Puerto
   CALLE AÑORANZA                           Rico                                                             F-8 CALLE AÑORANZA               Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
50 SUREN, SONIA DAVILA           05/23/18   Employees Retirement           19626              Undetermined* SUREN, SONIA DAVILA    06/05/18   Employees Retirement           59585        Undetermined*
   515 CALLE ARRIGOTIA                      System of the Government of                                     URB ROOSEVELT                     System of the Government of
   SAN JUAN, PR 00918                       the Commonwealth of Puerto                                      515 CALLE ARRIGOITIA              the Commonwealth of Puerto
                                            Rico                                                            SAN JUAN, PR 00918                Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
51 TIRADO BERRIOS ,              06/29/18   Employees Retirement           162579             Undetermined* TIRADO BERRIOS ,       07/03/18   Employees Retirement           134863       Undetermined*
   MINERVA                                  System of the Government of                                     MINERVA                           System of the Government of
   URB. CAMPO REY A-5                       the Commonwealth of Puerto                                      URB. CAMPO REY A-5                the Commonwealth of Puerto
   AIBONITO, PR 00705                       Rico                                                            AIBONITO, PR 00705                Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
52 TOMAS PAREDES,                06/28/18   Employees Retirement           131123             Undetermined* TOMAS PAREDES,         06/28/18   Employees Retirement           133120       Undetermined*
   AUSTRIA MARGARITA                        System of the Government of                                     AUSTRIA MARGARITA                 System of the Government of
   VILLA CAROLINA                           the Commonwealth of Puerto                                      VILLA CAROLINA                    the Commonwealth of Puerto
   CALLE 443 181                            Rico                                                            CALLE 443 181                     Rico
   CAROLINA, PR 00983                       17 BK 03566-LTS                                                 CAROLINA, PR 00983                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
53 TORO PEREZ, CARMEN            06/26/18   Employees Retirement           48106              Undetermined* TORO PEREZ, CARMEN     06/27/18   Employees Retirement           109918       Undetermined*
   E.                                       System of the Government of                                     E.                                System of the Government of
   110 CALLE ALAMO                          the Commonwealth of Puerto                                      110 CALLE ALAMO                   the Commonwealth of Puerto
   URBANIZACION EL                          Rico                                                            URBANIZACION EL                   Rico
   VALLE                                    17 BK 03566-LTS                                                 VALLE                             17 BK 03566-LTS
   LAJAS, PR 00667                                                                                          LAJAS, PR 00667

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 10 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
54 TORO VELEZ, ANA               06/27/18   Employees Retirement           122446             Undetermined* TORO VELEZ, ANA         06/28/18   Employees Retirement           102297       Undetermined*
   LIDIA                                    System of the Government of                                     LIDIA                              System of the Government of
   P.O BOX 1384                             the Commonwealth of Puerto                                      P.O. BOX 1384                      the Commonwealth of Puerto
   LAJAS, PR 00667                          Rico                                                            LAJAS, PR 00667                    Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
55 TORRES AROCHO,                05/29/18   Employees Retirement           30932                $ 57,709.81* TORRES AROCHO,         05/29/18   Employees Retirement           32962          $ 57,709.81*
   SONYA                                    System of the Government of                                      SONYA                             System of the Government of
   PO BOX 140142                            the Commonwealth of Puerto                                       PO BOX 140142                     the Commonwealth of Puerto
   ARECIBO, PR 00614                        Rico                                                             ARECIBO, PR 00614                 Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
56 TORRES CARDENALES,            06/27/18   Employees Retirement           53478              Undetermined* TORRES CARDENALES,      06/28/18   Employees Retirement           121892       Undetermined*
   ANTONIO LUIS                             System of the Government of                                     ANTONIO LUIS                       System of the Government of
   URB. HACIENDA                            the Commonwealth of Puerto                                      URB. HACIENDA                      the Commonwealth of Puerto
   MIRAFLORES #6 CALLE                      Rico                                                            MIRAFLORES 6 CALLE                 Rico
   ORQUIDEA                                 17 BK 03566-LTS                                                 ORQUIDEA                           17 BK 03566-LTS
   COAMO, PR 00769                                                                                          COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
57 TORRES CASIANO,               05/18/18   Employees Retirement           11785                 $ 36,114.96 TORRES CASIANO,        05/22/18   Employees Retirement           17498           $ 36,114.96
   CARLOS                                   System of the Government of                                      CARLOS                            System of the Government of
   HC 02 BOX 13028                          the Commonwealth of Puerto                                       HC 2 BOX 13028                    the Commonwealth of Puerto
   AIBONITO, PR 00705                       Rico                                                             AIBONITO, PR 00705                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
58 TORRES CASIANO,               05/18/18   Employees Retirement           14031                $ 36,114.96* TORRES CASIANO,        05/22/18   Employees Retirement           17498           $ 36,114.96
   CARLOS                                   System of the Government of                                      CARLOS                            System of the Government of
   HC 2 BOX 13028                           the Commonwealth of Puerto                                       HC 2 BOX 13028                    the Commonwealth of Puerto
   AIBONITO, PR 00705                       Rico                                                             AIBONITO, PR 00705                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
59 TORRES CORDERO, LUIS          08/14/18   Employees Retirement           130679                $ 30,000.00 TORRES CORDERO, LUIS   08/14/18   Employees Retirement           130764          $ 30,000.00
   A.                                       System of the Government of                                      A.                                System of the Government of
   BO CARRERAS 1                            the Commonwealth of Puerto                                       BO CARRERAS 1                     the Commonwealth of Puerto
   HC 4 BOX 14570                           Rico                                                             HC 04 BOX 14570                   Rico
   ARECIBO, PR 00612                        17 BK 03566-LTS                                                  ARECIBO, PR 00612                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 11 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
60 TORRES CRUZ,                  06/28/18   Employees Retirement           117507             Undetermined* TORRES CRUZ,           06/28/18   Employees Retirement           120116       Undetermined*
   REBECCA                                  System of the Government of                                     REBECCA                           System of the Government of
   841 CALLE CAMPECHE                       the Commonwealth of Puerto                                      841-CALLE CAMBECHE                the Commonwealth of Puerto
   APT 205                                  Rico                                                            APTO 205                          Rico
   PONCE, PR 00717-1677                     17 BK 03566-LTS                                                 PONCE, PR 00717-1677              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
61 TORRES ESCALERA,              05/23/18   Employees Retirement           19209                 $ 75,000.00 TORRES ESCALERA,      05/24/18   Employees Retirement           25565           $ 75,000.00
   EILEEN D                                 System of the Government of                                      EILEEN D                         System of the Government of
   CALLE                                    the Commonwealth of Puerto                                       CALLE                            the Commonwealth of Puerto
   MONTEMENBRILLO D25                       Rico                                                             MONTEMENBRILLO D25               Rico
   URB. LOMAS DE                            17 BK 03566-LTS                                                  URB. LOMAS DE                    17 BK 03566-LTS
   CAROLINA                                                                                                  CAROLINA
   CAROLINA, PR 00987                                                                                        CAROLINA, PR 00987

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
62 TORRES GUTIERREZ,             06/21/18   Employees Retirement           47479                 $ 25,530.15 TORRES GUTIERREZ,     06/21/18   Employees Retirement           56005           $ 25,530.15
   LISBET                                   System of the Government of                                      LISBET                           System of the Government of
   URB. LAS ANTILLAS,                       the Commonwealth of Puerto                                       URB.LAS                          the Commonwealth of Puerto
   CALLE SANTO                              Rico                                                             ANTILLAS,CALLE                   Rico
   DOMINGO # E2                             17 BK 03566-LTS                                                  SANTO DOMINGO #E2                17 BK 03566-LTS
   SALINAS, PR 00751                                                                                         SALINAS, PR 00751

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
63 TORRES JUARBE,                03/02/18   Employees Retirement             742                 $ 57,285.23 TORRES JUARBE,        03/02/18   Employees Retirement            792            $ 57,285.23
   GLORIA M.                                System of the Government of                                      GLORIA M.                        System of the Government of
   PO BOX 751                               the Commonwealth of Puerto                                       PO BOX 751                       the Commonwealth of Puerto
   TRUJILLO ALTO, PR                        Rico                                                             TRUJILLO ALTO, PR                Rico
   00977                                    17 BK 03566-LTS                                                  00977                            17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
64 TORRES LOPEZ,                 05/25/18   Employees Retirement           30009              Undetermined* TORRES LOPEZ,          05/25/18   Employees Retirement           48178        Undetermined*
   HUMBERTO                                 System of the Government of                                     HUMBERTO                          System of the Government of
   COND VILLAS DEL SOL                      the Commonwealth of Puerto                                      COND VILLAS DEL SOL               the Commonwealth of Puerto
   APTO 54                                  Rico                                                            APTO 54                           Rico
   TRUJILLO ALTO, PR                        17 BK 03566-LTS                                                 TRUJILLO ALTO, PR                 17 BK 03566-LTS
   00976                                                                                                    00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 12 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                   REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                        DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
65 TORRES LOPEZ,                 06/28/18   Employees Retirement           66067              Undetermined* TORRES LOPEZ,            07/03/18   Employees Retirement           146507       Undetermined*
   ISABELO                                  System of the Government of                                     ISABELO                             System of the Government of
   SABELO TORRES LOPEZ                      the Commonwealth of Puerto                                      APARTADO 9256                       the Commonwealth of Puerto
   APARTADO 9256                            Rico                                                            BAYAMON, PR 00960                   Rico
   BAYAMON, PR 00960                        17 BK 03566-LTS                                                                                     17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
66 TORRES MELENDEZ,              06/29/18   Employees Retirement           127541                $ 78,000.00 TORRES MELENDEZ,        06/29/18   Employees Retirement           151041          $ 78,000.00
   DALILA                                   System of the Government of                                      DALILA                             System of the Government of
   URB SANTA CLARA                          the Commonwealth of Puerto                                       URB SANTA CLARA                    the Commonwealth of Puerto
   112 CALLE LUZ                            Rico                                                             CALLE B 112                        Rico
   RADIANTE                                 17 BK 03566-LTS                                                  PONCE, PR 00716-2530               17 BK 03566-LTS
   PONCE, PR 00716

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
67 TORRES OLIVERAS,              06/26/18   Employees Retirement           96326              Undetermined* TORRES OLIVERAS,         06/26/18   Employees Retirement           100681       Undetermined*
   LESTER R.                                System of the Government of                                     LESTER R.                           System of the Government of
   APORTADO 560 782                         the Commonwealth of Puerto                                      APARTADO 560782                     the Commonwealth of Puerto
   GUAYANILLA, PR 00656                     Rico                                                            GUAYANILLA, PR 00656                Rico
                                            17 BK 03566-LTS                                                                                     17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
68 TORRES ORTIZ,                 05/11/18   Employees Retirement           10439                $ 30,445.84* TORRES ORTIZ,           05/11/18   Employees Retirement           10730          $ 30,445.84*
   CARMEN                                   System of the Government of                                      CARMEN                             System of the Government of
   2121 C/LUAN                              the Commonwealth of Puerto                                       COMUNIDAD PUNTA                    the Commonwealth of Puerto
   PONCE, PR 00728                          Rico                                                             DIAMANTE                           Rico
                                            17 BK 03566-LTS                                                  2121 YUAN                          17 BK 03566-LTS
                                                                                                             PONCE, PR 00728-2460

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
69 TORRES ORTIZ, FELIX E         06/05/18   Employees Retirement           48237                $ 60,514.23* TORRES ORTIZ, FELIX E   06/05/18   Employees Retirement           56018          $ 60,514.23*
   URB CIUDAD                               System of the Government of                                      URB CIUDAD                         System of the Government of
   CRISTIANA                                the Commonwealth of Puerto                                       CRISTIANA                          the Commonwealth of Puerto
   CALLE EL SALVADOR                        Rico                                                             133 EL SALVADOR                    Rico
   133                                      17 BK 03566-LTS                                                  HUMACAO, PR 00791                  17 BK 03566-LTS
   HUMACAO, PR 00791

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                          Page 13 of 26
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
70 TORRES QUILES,                05/25/18   Employees Retirement           21465                 $ 52,058.73 TORRES QUILES,           05/25/18   Employees Retirement           22410           $ 52,058.73
   ABIGAIL                                  System of the Government of                                      ABIGAIL                             System of the Government of
   R9 CALLE C EXT VILLA                     the Commonwealth of Puerto                                       R9 CALLE C EXT VILLA                the Commonwealth of Puerto
   RICA                                     Rico                                                             RICA                                Rico
   BAYAMON, PR 00959                        17 BK 03566-LTS                                                  BAYAMON, PR 00959                   17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
71 TORRES RAMOS, ANGEL           05/25/18   Employees Retirement           19886              Undetermined* TORRES RAMOS, ANGEL       05/25/18   Employees Retirement           21265        Undetermined*
   HC 1 BOX 24553                           System of the Government of                                     HC 01 BOX 24553                      System of the Government of
   CAGUAS, PR 00725-4011                    the Commonwealth of Puerto                                      CAGUAS, PR 00725-4011                the Commonwealth of Puerto
                                            Rico                                                                                                 Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
72 TORRES RIVERA,                05/18/18   Employees Retirement           15980                $ 62,014.69* TORRES RIVERA,           05/18/18   Employees Retirement           15983           $ 62,014.69
   GLORY L                                  System of the Government of                                      GLORY L                             System of the Government of
   702 COND QUINTANA A                      the Commonwealth of Puerto                                       COND. QUINTANA                      the Commonwealth of Puerto
   SAN JUAN, PR 00917-4753                  Rico                                                             EDIF. A-702                         Rico
                                            17 BK 03566-LTS                                                  SAN JUAN, PR 00917                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
73 TORRES RUIZ, ISRAEL           06/19/18   Employees Retirement           85726              Undetermined* TORRES RUIZ, ISRAEL       06/19/18   Employees Retirement           113801       Undetermined*
   PMB 315 PO BOX 4956                      System of the Government of                                     PMB 315 PO BOX 4956                  System of the Government of
   CAGUAS, PR 00726                         the Commonwealth of Puerto                                      CAGUAS, PR 00726                     the Commonwealth of Puerto
                                            Rico                                                                                                 Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
74 TORRES SANCHEZ,               05/24/18   Employees Retirement           34726              Undetermined* TORRES SANCHEZ,           05/29/18   Employees Retirement           45609        Undetermined*
   WALESKA                                  System of the Government of                                     WALESKA                              System of the Government of
   PO BOX 435                               the Commonwealth of Puerto                                      PO BOX 435                           the Commonwealth of Puerto
   ARROYO, PR 00714                         Rico                                                            ARROYO, PR 00714                     Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
75 TORRES SANTIAGO,              06/27/18   Employees Retirement           53675                 $ 34,332.28 TORRES SANTIAGO,         06/30/18   Employees Retirement           99432          $ 34,332.28*
   DAISY                                    System of the Government of                                      DAISY                               System of the Government of
   HC 01 BOX 6580                           the Commonwealth of Puerto                                       HC01 BOX 6580                       the Commonwealth of Puerto
   SANTA ISABEL, PR 00757                   Rico                                                             SANTA ISABEL, PR 00757              Rico
                                            17 BK 03566-LTS                                                                                      17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 14 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
76 TORRES SANTIAGO,              06/26/18   Employees Retirement           97754                $ 70,000.00* TORRES SANTIAGO,       06/27/18   Employees Retirement           110839          $ 70,000.00
   EDITH T.                                 System of the Government of                                      EDITH T.                          System of the Government of
   2505 CALLE COMPARSA                      the Commonwealth of Puerto                                       2505 CALLE COMPARSA               the Commonwealth of Puerto
   URB PERLA DEL SUR                        Rico                                                             PERLA DEL SUR                     Rico
   PONCE, PR 00717-0425                     17 BK 03566-LTS                                                  PONCE, PR 00717-0425              17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
77 TORRES SOTO,                  06/06/18   Employees Retirement           31524                 $ 41,189.60 TORRES SOTO,           06/13/18   Employees Retirement           60435           $ 41,189.60
   ALBERTO                                  System of the Government of                                      ALBERTO                           System of the Government of
   PO BOX 222                               the Commonwealth of Puerto                                       PO BOX 222                        the Commonwealth of Puerto
   ADJUNTAS, PR 00601                       Rico                                                             ADJUNTAS, PR 00601                Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
78 TORRES VENCEBI,               04/03/18   Employees Retirement            6497                $ 17,346.62* TORRES VENCEBI,        04/03/18   Employees Retirement           7080           $ 17,346.62*
   NYDIA                                    System of the Government of                                      NYDIA                             System of the Government of
   CALLE 19 V-5                             the Commonwealth of Puerto                                       CASTELLANA GARDENS                the Commonwealth of Puerto
   CASTELLANA GARDEN                        Rico                                                             V 5 CALLE 19                      Rico
   CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
79 TORRES-ROMERO,                06/06/18   Employees Retirement           31852               $ 144,620.44* TORRES-ROMERO,         06/06/18   Employees Retirement           32190         $ 144,620.44*
   GLORIA CELESTE                           System of the Government of                                      GLORIA CELESTE                    System of the Government of
   REPARTO LANDRAU                          the Commonwealth of Puerto                                       REPARTO LANDRAU                   the Commonwealth of Puerto
   1456 FRAZER APT. 4                       Rico                                                             1456 FRAZER APT. 4                Rico
   SAN JUAN, PR 00921                       17 BK 03566-LTS                                                  SAN JUAN, PR 00921                17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
80 TOSADO, ADRIAN                06/27/18   Employees Retirement           54434                 $ 51,516.22 TOSADO, ADRIAN         07/03/18   Employees Retirement           107273          $ 51,516.22
   HC 03 BOX 15414                          System of the Government of                                      HC 03 BOX 15414                   System of the Government of
   LAJAS, PR 00667                          the Commonwealth of Puerto                                       LAJAS, PR 00667                   the Commonwealth of Puerto
                                            Rico                                                                                               Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 15 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
81 TRINIDAD MENENDEZ,            06/27/18   Employees Retirement           55860                 $ 76,735.30 TRINIDAD MENENDEZ,     06/27/18   Employees Retirement           56616          $ 76,735.30*
   GREGORIO                                 System of the Government of                                      GREGORIO                          System of the Government of
   COLINAS FAIR VIEW                        the Commonwealth of Puerto                                       COLINAS FAIR VIEW                 the Commonwealth of Puerto
   4T13 CALLE 209                           Rico                                                             4T13 CALLE 209                    Rico
   TRUJILLO ALTO, PR                        17 BK 03566-LTS                                                  TRUJILLO ALTO, PR                 17 BK 03566-LTS
   00976                                                                                                     00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
82 TRINIDAD MENENDEZ,            06/27/18   Employees Retirement           59184                 $ 76,735.30 TRINIDAD MENENDEZ,     06/27/18   Employees Retirement           56616          $ 76,735.30*
   GREGORIO                                 System of the Government of                                      GREGORIO                          System of the Government of
   COLINAS FAIR VIEW                        the Commonwealth of Puerto                                       COLINAS FAIR VIEW                 the Commonwealth of Puerto
   4T13 CALLE 209                           Rico                                                             4T13 CALLE 209                    Rico
   TRUJILLO ALTO, PR                        17 BK 03566-LTS                                                  TRUJILLO ALTO, PR                 17 BK 03566-LTS
   00976                                                                                                     00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
83 UNIVERSITY OF                 06/29/18   Employees Retirement           79227                   $ 3,209.45 UNIVERSITY OF         06/29/18   Employees Retirement           109456           $ 3,209.45
   PUERTO RICO                              System of the Government of                                       PUERTO RICO                      System of the Government of
   RETIREMENT SYSTEM                        the Commonwealth of Puerto                                        RETIREMENT SYSTEM                the Commonwealth of Puerto
   TRUST                                    Rico                                                              TRUST                            Rico
   AMRC, LLC                                17 BK 03566-LTS                                                   AMRC, LLC                        17 BK 03566-LTS
   ATTN: JOSE LUIS                                                                                            ATTN. JOSE LUIS
   RAMIREZ COLL                                                                                               RAMIREZ-COLL
   PO BOX 13128                                                                                               P.O. BOX 13128
   SAN JUAN, PR 00908                                                                                         SAN JUAN, PR 00908

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
84 VALDIVIESO COSTAS,            06/25/18   Employees Retirement           89509              Undetermined* VALDIVIESO COSTAS,      06/25/18   Employees Retirement           132689       Undetermined*
   LEIDA                                    System of the Government of                                     LEIDA                              System of the Government of
   URB. BELLA VISTA                         the Commonwealth of Puerto                                      BELLA VISTA ESTATES                the Commonwealth of Puerto
   ESTATES                                  Rico                                                            45 CALLE VISTA AL RIO              Rico
   45 CALLE VISTA AL RIO                    17 BK 03566-LTS                                                 COAMO, PR 00769                    17 BK 03566-LTS
   COAMO, PR 00769

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 16 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
85 VALENTIN ALVAREZ,             05/25/18   Employees Retirement           46904                 $ 85,940.40 VALENTIN ALVAREZ,      06/28/18   Employees Retirement           112781         $ 85,940.40*
   MILDRED                                  System of the Government of                                      MILDRED                           System of the Government of
   ALTS.                                    the Commonwealth of Puerto                                       URB ALTS.                         the Commonwealth of Puerto
   INTERAMERICANA                           Rico                                                             INTERAMERICANA                    Rico
   S19 CALLE 17                             17 BK 03566-LTS                                                  S 19 CALLE 17                     17 BK 03566-LTS
   TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
   00976                                                                                                     00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
86 VALENTIN ALVAREZ,             06/05/18   Employees Retirement           47308                 $ 85,940.40 VALENTIN ALVAREZ,      06/28/18   Employees Retirement           112781         $ 85,940.40*
   MILDRED                                  System of the Government of                                      MILDRED                           System of the Government of
   ALTS.                                    the Commonwealth of Puerto                                       URB ALTS.                         the Commonwealth of Puerto
   INTERAMERICANA                           Rico                                                             INTERAMERICANA                    Rico
   S-19 CALLE 17                            17 BK 03566-LTS                                                  S 19 CALLE 17                     17 BK 03566-LTS
   TRUJILLO ALTO, PR                                                                                         TRUJILLO ALTO, PR
   00976                                                                                                     00976

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
87 VARELA PADRO,                 05/29/18   Employees Retirement           58173                 $ 17,512.08 VARELA PADRO,          05/29/18   Employees Retirement           87140          $ 17,512.08*
   IVETTE                                   System of the Government of                                      IVETTE                            System of the Government of
   URB MIRAFLORES                           the Commonwealth of Puerto                                       MIRAFLORES                        the Commonwealth of Puerto
   21 6 CALLE 8                             Rico                                                             BLOQUE 21 #6 CALLE 8              Rico
   BAYAMON, PR 00957                        17 BK 03566-LTS                                                  BAYAMON, PR 00957                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
88 VARGAS ACEVEDO,               05/25/18   Employees Retirement           20613              Undetermined* VARGAS ACEVEDO,         05/25/18   Employees Retirement           29723        Undetermined*
   ASHLEY                                   System of the Government of                                     ASHLEY                             System of the Government of
   HC 01 BOX 7168                           the Commonwealth of Puerto                                      HC 01 BOX 7168                     the Commonwealth of Puerto
   MOCA, PR 00676                           Rico                                                            MOCA, PR 00676                     Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
89 VARGAS ARROYO,                05/28/18   Employees Retirement           24585                 $ 25,820.01 VARGAS ARROYO,         05/29/18   Employees Retirement           44223           $ 25,820.01
   FERNANDO                                 System of the Government of                                      FERNANDO                          System of the Government of
   PARAISO DE                               the Commonwealth of Puerto                                       PARAISO DE                        the Commonwealth of Puerto
   MAYAGUEZ                                 Rico                                                             MAYAGUEZ                          Rico
   204 CALLE SERENIDAD                      17 BK 03566-LTS                                                  204 CALLE SERENIDAD               17 BK 03566-LTS
   MAYAGUEZ, PR 00680-                                                                                       MAYAGUEZ, PR 00680-
   6219                                                                                                      6219

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 17 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
90 VARGAS GERENA,                06/28/18   Employees Retirement           71116                $ 43,271.77* VARGAS GERENA,         06/28/18   Employees Retirement           69311          $ 43,271.77*
   NATIVIDAD                                System of the Government of                                      NATIVIDAD                         System of the Government of
   URBANIZACIÓN                             the Commonwealth of Puerto                                       URB. ESTANCIAS DE LA              the Commonwealth of Puerto
   ESTANCIAS DE LA                          Rico                                                             CEIBA                             Rico
   CEIBA                                    17 BK 03566-LTS                                                  BUZÓN 102                         17 BK 03566-LTS
   BUZÓN 102                                                                                                 HATILLO, PR 00659
   HATILLO, PR 00659

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
91 VARGAS GERENA,                05/29/18   Employees Retirement           26366                 $ 66,211.67 VARGAS GERENA,         05/29/18   Employees Retirement           43373          $ 66,211.67*
   PROVIDENCIA                              System of the Government of                                      PROVIDENCIA                       System of the Government of
   PMB 747                                  the Commonwealth of Puerto                                       PMB 747                           the Commonwealth of Puerto
   HC 1 BOX 29030                           Rico                                                             HC 1 BOX 29030                    Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
92 VAZQUEZ AGOSTO,               05/21/18   Employees Retirement           34288                 $ 44,980.03 VAZQUEZ AGOSTO,        05/21/18   Employees Retirement           20642           $ 44,980.03
   MARISOL                                  System of the Government of                                      MARISOL                           System of the Government of
   HC -3 BUZON 7690                         the Commonwealth of Puerto                                       HC -3 BUZON 7690                  the Commonwealth of Puerto
   CANOVANAS, PR 00729                      Rico                                                             CANOVANAS, PR 00729               Rico
                                            17 BK 03566-LTS                                                                                    17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
93 VAZQUEZ BURGOS,               06/27/18   Employees Retirement           43133              Undetermined* VAZQUEZ BURGOS,         06/27/18   Employees Retirement           55650        Undetermined*
   CARMEN A.                                System of the Government of                                     CARMEN A.                          System of the Government of
   URB. COVADONGA                           the Commonwealth of Puerto                                      URB. COVADONGA                     the Commonwealth of Puerto
   1 J 2 CALLE PRAVIA                       Rico                                                            1J2 CALLE PRAVIA                   Rico
   TOA BAJA, PR 00949                       17 BK 03566-LTS                                                 TOA BAJA, PR 00949                 17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
94 VAZQUEZ DELGADO,              06/25/18   Employees Retirement           47577              Undetermined* VAZQUEZ DELGADO,        06/28/18   Employees Retirement           69805        Undetermined*
   ANA B                                    System of the Government of                                     ANA B                              System of the Government of
   URB COUNTRY CLUB                         the Commonwealth of Puerto                                      URB. COUNTRY CLUB                  the Commonwealth of Puerto
   880 CALLE YABOA REAL                     Rico                                                            #880 CALLE YABOA                   Rico
   RIO PIEDRAS, PR 00924                    17 BK 03566-LTS                                                 REAL                               17 BK 03566-LTS
                                                                                                            SAN JUAN, PR 00924

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 18 of 26
                                      Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                             Desc:
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                                                                              Thirtieth Omnibus Objection
                                                                            Exhibit A - Exact Duplicate Claims
                                      CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                 DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
            NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT               NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
95 VAZQUEZ GONZALEZ,             05/23/18   Employees Retirement           19641              Undetermined* VAZQUEZ GONZALEZ,      05/23/18   Employees Retirement           27990        Undetermined*
   ZAIDA                                    System of the Government of                                     ZAIDA                             System of the Government of
   EXT CAGUAX                               the Commonwealth of Puerto                                      EXTENSION CAGUAX                  the Commonwealth of Puerto
   S8 CALLE 20                              Rico                                                            S 8 CALLE 20                      Rico
   CAGUAS, PR 00725                         17 BK 03566-LTS                                                 CAGUAS, PR 00725                  17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
96 VAZQUEZ MORALES,              05/24/18   Employees Retirement           31441              Undetermined* VAZQUEZ MORALES,       05/24/18   Employees Retirement           31466        Undetermined*
   JENNY E.                                 System of the Government of                                     JENNY E.                          System of the Government of
   PO BOX 257                               the Commonwealth of Puerto                                      PO BOX 257                        the Commonwealth of Puerto
   LAJAS, PR 00667                          Rico                                                            LAJAS, PR 00667                   Rico
                                            17 BK 03566-LTS                                                                                   17 BK 03566-LTS
   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
97 VAZQUEZ PADILLA,              07/02/18   Employees Retirement           147806             Undetermined* VAZQUEZ PADILLA,       07/02/18   Employees Retirement           152302       Undetermined*
   JOEL D.                                  System of the Government of                                     JOEL D.                           System of the Government of
   PO BOX 1030                              the Commonwealth of Puerto                                      N-1 CALLE RIO DAGUSO              the Commonwealth of Puerto
   N-1 CALLE RIO DEGUSO                     Rico                                                            URB. ALTURAS DE                   Rico
   URB. AHURAS DE HATO                      17 BK 03566-LTS                                                 HATO NUEVO III                    17 BK 03566-LTS
   NUEVO III                                                                                                GURABO, PR 00778
   GURABO, PR 00778

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
98 VAZQUEZ SAAVEDRA,             07/03/18   Employees Retirement           121656               $ 124,637.95 VAZQUEZ SAAVEDRA,     07/03/18   Employees Retirement           130659        $ 124,637.95*
   EDWARD                                   System of the Government of                                      EDWARD                           System of the Government of
   URB. ALTOA POLO M-12                     the Commonwealth of Puerto                                       URB. ALTO APOLO                  the Commonwealth of Puerto
   AST                                      Rico                                                             M-212 CALLE AST.                 Rico
   GUAYNABO, PR 00969                       17 BK 03566-LTS                                                  GUAYNABO, PR 00969               17 BK 03566-LTS

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
99 VAZQUEZ VAZQUEZ,              06/29/18   Employees Retirement           83877                 $ 37,350.56 VAZQUEZ VAZQUEZ,      07/06/18   Employees Retirement           139423          $ 37,350.56
   ELI R.                                   System of the Government of                                      ELI R.                           System of the Government of
   COMUNIDAD SAN                            the Commonwealth of Puerto                                       COMUNIDAD SAN                    the Commonwealth of Puerto
   ROMUALDO                                 Rico                                                             ROMUALDO                         Rico
   BOX 70A                                  17 BK 03566-LTS                                                  BOX 70A                          17 BK 03566-LTS
   HORMIGUEROS, PR                                                                                           HORMIGUEROS, PR
   00660                                                                                                     00660

   Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




             * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 19 of 26
                                       Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                              Desc:
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
100 VEGA BORGOS, VIRGEN           06/27/18   Employees Retirement           45085                 $ 75,000.00 VEGA BORGOS, VIRGEN    06/27/18   Employees Retirement           57034           $ 75,000.00
    M.                                       System of the Government of                                      M.                                System of the Government of
    EXT.PUNTO ORO #4736                      the Commonwealth of Puerto                                       EXT. PUNTO ORO #4736              the Commonwealth of Puerto
    CALLE LA PINTA                           Rico                                                             CALLE LA PINTA                    Rico
    PONCE, PR 00728                          17 BK 03566-LTS                                                  PONCE, PR 00728                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
101 VEGA CRUZ, WILLIAM            06/29/18   Employees Retirement           66119                 $ 12,900.00 VEGA CRUZ, WILLIAM     06/29/18   Employees Retirement           69390           $ 12,900.00
    EXT. LAS MARIAS                          System of the Government of                                      EXT. LAS MARIAS                   System of the Government of
    CALLE D #45                              the Commonwealth of Puerto                                       CALLE D #45                       the Commonwealth of Puerto
    JUANA DIAZ, PR 00795                     Rico                                                             JUANA DIAZ, PR 00795              Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
102 VEGA GONZALEZ,                06/29/18   Employees Retirement           136505                $ 66,697.00 VEGA GONZALEZ,         07/11/18   Employees Retirement           167524          $ 66,697.00
    WALESKA                                  System of the Government of                                      WALESKA                           System of the Government of
    HC 01 BOX 2455                           the Commonwealth of Puerto                                       HC 01 BOX 2455                    the Commonwealth of Puerto
    FLORIDA, PR 00650                        Rico                                                             FLORIDA, PR 00650                 Rico
                                             17 BK 03566-LTS                                                                                    17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
103 VEGUILLA FLORES,              05/21/18   Employees Retirement           17954                $ 40,113.21* VEGUILLA FLORES,       05/21/18   Employees Retirement           20650           $ 40,113.21
    WANDA G                                  System of the Government of                                      WANDA G                           System of the Government of
    PO BOX 1073                              the Commonwealth of Puerto                                       PO BOX 1073                       the Commonwealth of Puerto
    AGUAS BUENAS, PR                         Rico                                                             AGUAS BUENAS, PR                  Rico
    00703-1073                               17 BK 03566-LTS                                                  00703-1073                        17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
104 VELAZQUEZ DELGADO,            05/21/18   Employees Retirement           32253              Undetermined* VELAZQUEZ DELGADO,      05/21/18   Employees Retirement           33489        Undetermined*
    MIGNA M                                  System of the Government of                                     MIGNA M                            System of the Government of
    URB LOS ANGELES                          the Commonwealth of Puerto                                      URB LOS ANGELES                    the Commonwealth of Puerto
    7A CALLE A                               Rico                                                            7A CALLE A                         Rico
    YABUCOA, PR 00767                        17 BK 03566-LTS                                                 YABUCOA, PR 00767                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
105 VELAZQUEZ DIAZ,               04/19/18   Employees Retirement            7715              Undetermined* VELAZQUEZ DIAZ,         04/23/18   Employees Retirement           8018         Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                          System of the Government of
    PO BOX 63                                the Commonwealth of Puerto                                      PO BOX 63                          the Commonwealth of Puerto
    RIO BLANCO, PR 00744-                    Rico                                                            RIO BLANCO, PR 00744-              Rico
    0063                                     17 BK 03566-LTS                                                 0063                               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.



              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 20 of 26
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME              FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
106 VELAZQUEZ DIAZ,               04/19/18   Employees Retirement            7762              Undetermined* VELAZQUEZ DIAZ,           04/23/18   Employees Retirement           8018         Undetermined*
    MARGARITA                                System of the Government of                                     MARGARITA                            System of the Government of
    BO. FLORIDA                              the Commonwealth of Puerto                                      PO BOX 63                            the Commonwealth of Puerto
    BOX 63                                   Rico                                                            RIO BLANCO, PR 00744-                Rico
    RIO BLANCO, PR 00744-                    17 BK 03566-LTS                                                 0063                                 17 BK 03566-LTS
    0063

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
107 VELAZQUEZ PINTO,              05/29/18   Employees Retirement           40762               $ 100,000.00* VELAZQUEZ PINTO,         05/29/18   Employees Retirement           43134         $ 100,000.00*
    FERNANDA                                 System of the Government of                                      FERNANDA                            System of the Government of
    7 CALLE COREA                            the Commonwealth of Puerto                                       COND BRISAS DE                      the Commonwealth of Puerto
    BAYAMON, PR 00961                        Rico                                                             COREA                               Rico
                                             17 BK 03566-LTS                                                  APT 26-E                            17 BK 03566-LTS
                                                                                                              BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
108 VELAZQUEZ PINTO,              05/29/18   Employees Retirement           40763               $ 100,000.00* VELAZQUEZ PINTO,         05/29/18   Employees Retirement           43134         $ 100,000.00*
    FERNANDA                                 System of the Government of                                      FERNANDA                            System of the Government of
    7 CALLE COREA                            the Commonwealth of Puerto                                       COND BRISAS DE                      the Commonwealth of Puerto
    BAYAMON, PR 00961                        Rico                                                             COREA                               Rico
                                             17 BK 03566-LTS                                                  APT 26-E                            17 BK 03566-LTS
                                                                                                              BAYAMON, PR 00961

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
109 VELAZQUEZ RIVERA,             06/29/18   Employees Retirement           114242                $ 75,000.00 VELAZQUEZ RIVERA,        06/29/18   Employees Retirement           114586          $ 75,000.00
    HIRAM                                    System of the Government of                                      HIRAM                               System of the Government of
    PO BOX 9066                              the Commonwealth of Puerto                                       P.O.BOX 9066                        the Commonwealth of Puerto
    LANCASTER, PA 17604                      Rico                                                             LANCASTER, PA 17604                 Rico
                                             17 BK 03566-LTS                                                                                      17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
110 VELEZ CORDERO,                06/28/18   Employees Retirement           143894                $ 34,033.00 VELEZ CORDERO,           07/03/18   Employees Retirement           154100          $ 34,033.00
    ISRAEL                                   System of the Government of                                      ISRAEL                              System of the Government of
    CARR. 795 KM 2.1 CALLE                   the Commonwealth of Puerto                                       CARR. 795 KM 2.1 CALLE              the Commonwealth of Puerto
    4 #181 B SECTOR LA                       Rico                                                             4 #181 B SECTOR LA                  Rico
    MESA                                     17 BK 03566-LTS                                                  MESA                                17 BK 03566-LTS
    CAGUAS, PR 00725                                                                                          CAGUAS, PR 00725

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 21 of 26
                                       Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                             Desc:
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                 REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                      DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME            FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
111 VÉLEZ GÓMEZ,                  05/29/18   Employees Retirement           17335              Undetermined* VÉLEZ GÓMEZ,           05/29/18   Employees Retirement           26622        Undetermined*
    MELISSA                                  System of the Government of                                     MELISSA                           System of the Government of
    PO BOX 53                                the Commonwealth of Puerto                                      PO BOX 53                         the Commonwealth of Puerto
    BOQUERON, PR 00622                       Rico                                                            BOQUERÓN, PR 00622                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
112 VELEZ GONZALEZ,               06/27/18   Employees Retirement           116326             Undetermined* VELEZ GONZALEZ,        06/27/18   Employees Retirement           165924       Undetermined*
    ROSA M.                                  System of the Government of                                     ROSA M.                           System of the Government of
    RUTA 2 BUZON 67                          the Commonwealth of Puerto                                      RUTA 2 BUZON 67                   the Commonwealth of Puerto
    PENUELAS, PR 06245                       Rico                                                            PENUELAS, PR 06245                Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
113 VELEZ HERNANDEZ,              06/06/18   Employees Retirement           49539              Undetermined* VELEZ HERNANDEZ,       06/06/18   Employees Retirement           61027        Undetermined*
    LYDIA                                    System of the Government of                                     LYDIA                             System of the Government of
    BOX 253                                  the Commonwealth of Puerto                                      PO BOX 253                        the Commonwealth of Puerto
    LARES, PR 00669                          Rico                                                            LARES, PR 00669                   Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
114 VELEZ PEREZ, NANCY            05/26/18   Employees Retirement           21576                $ 73,961.11* VELEZ PEREZ, NANCY    05/26/18   Employees Retirement           21607          $ 73,961.11*
    HC 04                                    System of the Government of                                      HC 04                            System of the Government of
    BOX 46851                                the Commonwealth of Puerto                                       BOX 46851                        the Commonwealth of Puerto
    BO QUEMADO                               Rico                                                             BO QUEMADO                       Rico
    MAYAGUEZ, PR 00680                       17 BK 03566-LTS                                                  MAYAGUEZ, PR 00680               17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
115 VELEZ RIVERA, ANA R           06/07/18   Employees Retirement           114950               $ 35,000.00* VELEZ RIVERA, ANA R   06/07/18   Employees Retirement           131073         $ 35,000.00*
    PO BOX 3206                              System of the Government of                                      PO BOX 3206                      System of the Government of
    VEGA ALTA, PR 00692                      the Commonwealth of Puerto                                       VEGA ALTA, PR 00692              the Commonwealth of Puerto
                                             Rico                                                                                              Rico
                                             17 BK 03566-LTS                                                                                   17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
116 VELEZ RIVERA,                 07/02/18   Employees Retirement           77818              Undetermined* VELEZ RIVERA,          07/02/18   Employees Retirement           119885       Undetermined*
    WANDALIZ                                 System of the Government of                                     WANDALIZ                          System of the Government of
    URB. BORINQUEN # B-30                    the Commonwealth of Puerto                                      URB BORINQUEN # B-30              the Commonwealth of Puerto
    CALLE MARIANA                            Rico                                                            CALLE MARIANA                     Rico
    BRACETTI                                 17 BK 03566-LTS                                                 BRACETTI                          17 BK 03566-LTS
    CABO ROJO, PR 00623                                                                                      CABO ROJO, PR 00623

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                        Page 22 of 26
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                                                              Exhibit Exhibit A Page 24 of 27

                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                     REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                          DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
117 VERA SAAVEDRA, JUAN           05/29/18   Employees Retirement           39942              Undetermined* VERA SAAVEDRA, JUAN        05/29/18   Employees Retirement           39950        Undetermined*
    J.                                       System of the Government of                                     J.                                    System of the Government of
    PO BOX 6519                              the Commonwealth of Puerto                                      PO BOX 6519                           the Commonwealth of Puerto
    MAYAGUEZ, PR 00681                       Rico                                                            MAYAGUEZ, PR 00681                    Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
118 VIERA SERRANO,                06/29/18   Employees Retirement           93676              Undetermined* VIERA SERRANO,             07/05/18   Employees Retirement           152975       Undetermined*
    MILTON A.                                System of the Government of                                     MILTON A.                             System of the Government of
    PO BOX 224                               the Commonwealth of Puerto                                      P.O.BOX 224                           the Commonwealth of Puerto
    BAJADERO, PR 00626                       Rico                                                            BAJADERO, PR 00616                    Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
119 VILLANUEVA                    06/29/18   Employees Retirement           70573              Undetermined* VILLANUEVA                 06/29/18   Employees Retirement           74390        Undetermined*
    ACEVEDO, JULIA                           System of the Government of                                     ACEVEDO, JULIA                        System of the Government of
    P.O. BOX 1107                            the Commonwealth of Puerto                                      PO BOX 1107                           the Commonwealth of Puerto
    AGUADA, PR 00602                         Rico                                                            AGUADA, PR 00602                      Rico
                                             17 BK 03566-LTS                                                                                       17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
120 VILLANUEVA ROSA,              06/15/18   Employees Retirement           42423                $ 57,525.23* VILLANUEVA ROSA,          06/19/18   Employees Retirement           78017          $ 57,525.23*
    JORGE R                                  System of the Government of                                      JORGE R                              System of the Government of
    COND FRANCIA 1551                        the Commonwealth of Puerto                                       COND FRANCIA 1551                    the Commonwealth of Puerto
    CALLE FRANCIA APT 6 E                    Rico                                                             CALLE FRANCIA APT 6 E                Rico
    SAN JUAN, PR 00911                       17 BK 03566-LTS                                                  SAN JUAN, PR 00911                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
121 VILLARRUBIA                   06/28/18   Employees Retirement           120038             Undetermined* VILLARRUBIA                06/28/18   Employees Retirement           131469       Undetermined*
    TRAVERSO, NYDIA M.                       System of the Government of                                     TRAVERSO, NYDIA M.                    System of the Government of
    B-11 URB. JARDINES DE                    the Commonwealth of Puerto                                      B-11 URB. JARDINES DE                 the Commonwealth of Puerto
    MARIBEL                                  Rico                                                            MARIBEL                               Rico
    AGUADILLA, PR 00603                      17 BK 03566-LTS                                                 AGUADILLA, PR 00603                   17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
122 VILLEGAS BENITEZ,             05/08/18   Employees Retirement           10252                 $ 60,376.96 VILLEGAS BENITEZ,         05/08/18   Employees Retirement           10476           $ 60,376.96
    MARTHA                                   System of the Government of                                      MARTHA                               System of the Government of
    URB CIUDAD SENORIAL                      the Commonwealth of Puerto                                       URB CIUDAD SEÑORIAL                  the Commonwealth of Puerto
    35 MAJESTED                              Rico                                                             35 CALLE MAJESTAD                    Rico
    SAN JUAN, PR 00926-8810                  17 BK 03566-LTS                                                  SAN JUAN, PR 00926-8810              17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                            Page 23 of 26
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                  REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                       DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME             FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
123 VIVES RUIZ, JOSE L            05/17/18   Employees Retirement           18586              Undetermined* VIVES RUIZ, JOSE L      06/05/18   Employees Retirement           46254        Undetermined*
    PARCELAS CASTILLO                        System of the Government of                                     PARCELAS CASTILLO                  System of the Government of
    A40 CHIPOLITO                            the Commonwealth of Puerto                                      A40 CHIPOLITO                      the Commonwealth of Puerto
    ARROYO                                   Rico                                                            ARROYO                             Rico
    MAYAGUEZ, PR 00680                       17 BK 03566-LTS                                                 MAYAGUEZ, PR 00680                 17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
124 VIZCARRONDO FLORES,           05/31/18   Employees Retirement           31049                $ 48,000.00* VIZCARRONDO FLORES,    05/31/18   Employees Retirement           45321           $ 48,000.00
    EVELYN                                   System of the Government of                                      EVELYN                            System of the Government of
    VILLA FONTANA                            the Commonwealth of Puerto                                       URB VILLA FONTANA                 the Commonwealth of Puerto
    2JR677 VIA 4                             Rico                                                             2JR 677 VIA 4                     Rico
    CAROLINA, PR 00983-                      17 BK 03566-LTS                                                  CAROLINA, PR 00983                17 BK 03566-LTS
    3829

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
125 WILKES ALICEA,                05/29/18   Employees Retirement           28224              Undetermined* WILKES ALICEA,          05/29/18   Employees Retirement           33939        Undetermined*
    VANESSA                                  System of the Government of                                     VANESSA                            System of the Government of
    URB CITY PALACE                          the Commonwealth of Puerto                                      URB CITY PALACE 616                the Commonwealth of Puerto
    616 CALLE LA SELECTA                     Rico                                                            CALLE LA SELECTA                   Rico
    NAGUABO, PR 00718-                       17 BK 03566-LTS                                                 NAGUABO, PR 00718                  17 BK 03566-LTS
    2014

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
126 YOBOBYS FERRER,               05/14/18   Employees Retirement           12971                $ 63,743.91* YOBOBYS FERRER,        05/14/18   Employees Retirement           14731          $ 63,743.91*
    DIANA I                                  System of the Government of                                      DIANA I                           System of the Government of
    URB VISTA DEL RIO II                     the Commonwealth of Puerto                                       Q9 URB VISTA DEL RIO              the Commonwealth of Puerto
    Q9                                       Rico                                                             II                                Rico
    ANASCO, PR 00610                         17 BK 03566-LTS                                                  AÑASCO, PR 00610                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
127 YOBOBYS FERRER,               05/14/18   Employees Retirement           14728                $ 63,743.91* YOBOBYS FERRER,        05/14/18   Employees Retirement           14731          $ 63,743.91*
    DIANA I                                  System of the Government of                                      DIANA I                           System of the Government of
    URB. VISTA DEL RIO II                    the Commonwealth of Puerto                                       Q9 URB VISTA DEL RIO              the Commonwealth of Puerto
    Q-9                                      Rico                                                             II                                Rico
    ANASCO, PR 00610                         17 BK 03566-LTS                                                  AÑASCO, PR 00610                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                         Page 24 of 26
                                       Case:17-03283-LTS Doc#:6279-1 Filed:04/15/19 Entered:04/15/19 21:18:24                                                Desc:
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                    REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                         DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                NAME               FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
128 ZABALA RODRIGUEZ,             05/22/18   Employees Retirement           18030                $ 67,904.55* ZABALA RODRIGUEZ,        05/23/18   Employees Retirement           25682          $ 67,904.55*
    VICENTE                                  System of the Government of                                      VICENTE                             System of the Government of
    URB JOSE DELGADO                         the Commonwealth of Puerto                                       URB JOSE DELGADO                    the Commonwealth of Puerto
    Q16 CALLE 10                             Rico                                                             Q16 CALLE 10                        Rico
    CAGUAS, PR 00725                         17 BK 03566-LTS                                                  CAGUAS, PR 00725                    17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
129 ZAMBRANA                      06/29/18   Employees Retirement           76803                 $ 13,800.00 ZAMBRANA                 07/03/18   Employees Retirement           154288          $ 13,800.00
    MALDONADO,                               System of the Government of                                      MALDONADO,                          System of the Government of
    MARGARITA                                the Commonwealth of Puerto                                       MARGARITA                           the Commonwealth of Puerto
    MANSIONES SIERRA                         Rico                                                             MANSIONES SIERRA                    Rico
    TAINA                                    17 BK 03566-LTS                                                  TAINA                               17 BK 03566-LTS
    HC 67 BOX 85                                                                                              HC 67 BOX 85
    BAYAMON, PR 00956                                                                                         BAYAMON, PR 00956

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
130 ZAMBRANA PADILLA,             07/06/18   Employees Retirement           155919             Undetermined* ZAMBRANA PADILLA,         07/06/18   Employees Retirement           166149       Undetermined*
    VIOLETA                                  System of the Government of                                     VIOLETA                              System of the Government of
    URB CAPARRA                              the Commonwealth of Puerto                                      URB CAPARRA                          the Commonwealth of Puerto
    TERRACE                                  Rico                                                            TERRACE                              Rico
    1309 CALLE 16 SW                         17 BK 03566-LTS                                                 1309 CALLE 16 SW                     17 BK 03566-LTS
    SAN JUAN, PR 00921-2116                                                                                  SAN JUAN, PR 00921-2116

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
131 ZAPATER PAGAN,                05/24/18   Employees Retirement           20494                 $ 29,346.28 ZAPATER PAGAN,           05/25/18   Employees Retirement           19787          $ 29,346.28*
    LISETTE                                  System of the Government of                                      LISETTE                             System of the Government of
    URB. SANTA MARTA                         the Commonwealth of Puerto                                       URB SANTA MARTA                     the Commonwealth of Puerto
    CALLE DB5                                Rico                                                             B5 CALLE D                          Rico
    SAN GERMAN, PR 00683                     17 BK 03566-LTS                                                  SAN GERMAN, PR 00683                17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.
132 ZAYAS COLON,                  06/01/18   Employees Retirement           26820                $ 60,000.00* ZAYAS COLON,             06/01/18   Employees Retirement           29566          $ 60,000.00*
    RICARDO                                  System of the Government of                                      RICARDO                             System of the Government of
    QR-19 VIA-19                             the Commonwealth of Puerto                                       QR-19 VIA-19                        the Commonwealth of Puerto
    VILLA FONTANA                            Rico                                                             VILLA FONTANA                       Rico
    CAROLINA, PR 00983                       17 BK 03566-LTS                                                  CAROLINA, PR 00983                  17 BK 03566-LTS

    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                           Page 25 of 26
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                                                                               Thirtieth Omnibus Objection
                                                                             Exhibit A - Exact Duplicate Claims
                                       CLAIMS TO BE DISALLOWED                                                                                REMAINING CLAIMS

                                  DATE           CASE NUMBER /                                                                     DATE          CASE NUMBER /
             NAME                 FILED             DEBTOR                 CLAIM #      CLAIM AMOUNT                 NAME          FILED            DEBTOR                  CLAIM #   CLAIM AMOUNT
133 ZAYAS, JASMINE                06/25/18   Employees Retirement           47570                 $ 42,071.17 ZAYAS, JASMINE       06/25/18   Employees Retirement           47698          $ 42,071.17
    CASADO                                   System of the Government of                                      CASADO                          System of the Government of
    PO BOX 268                               the Commonwealth of Puerto                                       PO BOX 268                      the Commonwealth of Puerto
    LUQUILLO, PR 00773                       Rico                                                             LUQUILLO, PR 00773              Rico
                                             17 BK 03566-LTS                                                                                  17 BK 03566-LTS
    Reason: Proof of Claim asserts liabilities which are duplicative of another filed Proof of Claim.




              * Indicates claim contains unliquidated and/or undetermined amounts                                                                       Page 26 of 26
